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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICTOF LOUISIANA




BENNY HERNANDEZ                                      EEOC DOCKET NO: 461-2015-01842
VERSUS                                               EEOC DOCKET NO: 461-2017-00108
                                                     EEOC DOCKET NO: 461-2017-00130
ASAP EMPLOYMENT SERVICES, INC.
lOUISIANA CONSTRUCTION AND
INDUSTRIES SELF INSURERS FUND
AND XCEL ERECTORS INC. AND
SPX COOLING TECH. INC. frWjQ
Cl-TX
            1. NOW INTO COURT, comes plantiff BENNY HERNANDEZ who isasking the
Honorable court, who has jurisdiction over fedreal charges for the EEOC. The right to sue letter
explians against defendant, Asap Employment services and Louisiana Construction and
Industries Self Insurers Fund.




              2. This company employed me and sent me to work at CFI Industries in
Donaldsonville Louisiana In which Iworked for Xcel Erector at the plant. On 09-16-2014 they
had an operator hurt me with aload on a forkllft. They never paid me any benefits and 13
months later at the Houma Louisiana worksmancomp medation told my parents and Ito go
ahead and have surgery. Months aftersurgery they came at me that I had done something
wrong by not disclosing my disability and time of employment and time of injury. They then
took away my settlement and any benefits for they never paid any bills leaving at this monent
with 500,000.00 in medical bills to repay insurance. By the time Ilearned they had no rights in
taking this away legally and thatthe surgery did notgo right, as another is soon to take place
they laughed and said to late your wrongand we hold all rights. They have left me in this
conditioin where Ican not work for the rest of my life and no earnings. The EEOC was
investigating this and said this companies would never respond to given them the reason or
evidence to reslove this. So I asked for the right to sue letters and excliamed Iwould file them
since the companies would not help.Under 1964 American with Disability Act under the ADA or
EEOC one does not have to disclose such and does not give any reason to take away any
settlement.The attorney who handled this Danny Vidrine wrote a Summaryto Mediation as to
what the company had said or done. This is noted hisemail of summary of mediaiton and with
the discrimination right to sue letter to proof such. For now would ask the court that this
document can be amended and any documents that relate can and should please be viewed for
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